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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


     Mahmoud KHALIL,

                           Petitioner,
            v.

     Donald J. TRUMP, in his official capacity as
     President of the United States; William P. JOYCE,
     in his official capacity as Acting Field Office
     Director of New York, Immigration and Customs              No. 25-cv-1963-MEF-MAH
     Enforcement;1 Caleb VITELLO, Acting Director,
     U.S. Immigration and Customs Enforcement; Kristi
     NOEM, in her official capacity as Secretary of the
     United States Department of Homeland Security;
     Marco RUBIO, in his official capacity as Secretary
     of State; and Pamela BONDI, in her official capacity
     as Attorney General, U.S. Department of Justice,

                           Respondents.


              PETITIONER’S MEMORANDUM OF LAW IN OPPOSITION TO
             RESPONDENTS’ RENEWED MOTION TO DISMISS OR TRANSFER
               & IN SUPPORT OF HIS CROSS-MOTION FOR RE-TRANSFER

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                                  INTRODUCTION

       This unprecedented case involves government efforts to detain, under cover

 of night, Mahmoud Khalil, a lawful permanent resident, and then, “in the space of

 less than twenty-four hours, . . . haul[]” him “through at least six different districts

 (one likely twice).” Op. at 24 n.6 (ECF 78). Within hours of his arrest and

 detention, Petitioner Mahmoud Khalil filed a habeas petition to challenge the

 government’s efforts to punish and silence him for his speech. All of the

 information his lawyers had that night pointed to New York as the location of his

 detention, and that is where they filed. But as the world now knows, Mr. Khalil

 was not in New York when his lawyers filed his petition. Instead, he was here, in

 New Jersey—though nobody but the government would know that until he was

 already gone.

       The government renews a motion it has already lost to send Mr. Khalil’s

 case on to its orchestrated venue, the Western District of Louisiana. Just five days

 ago, Judge Furman ruled that because Mr. Khalil was in New Jersey at the time of

 his habeas filing, Petitioner’s case should be transferred here in the interests of

 justice. In his opinion, Judge Furman rejected all of the arguments the government

 makes here in its “renewed” motion to transfer the case to Louisiana, and his

 decision is the law of the case. Even if it were not, the government’s arguments are

 contrary to binding precedent that holds that the proper venue for a habeas petition



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 is where the petitioner was being held at the time the petition was filed. Those

 arguments are also intolerably inconsistent with the fundamental purposes

 underlying habeas corpus.

       As Judge Furman held, this Court is a proper venue for Mr. Khalil’s petition,

 which challenges his unconstitutional and illegal detention and threatened

 deportation. While Mr. Khalil preserves his prior arguments that the Southern

 District of New York was a proper venue at the time he filed his petition, he is

 ready to proceed on his emergency motions and claims before this Court. The

 Court should deny the government’s motion.2

                             FACTUAL BACKGROUND

       At approximately 8:30 p.m. on the night of March 8, 2025, Mr. Khalil and

 his wife, who is eight months pregnant, were returning to their home on the Upper

 West Side of Manhattan after attending an Iftar dinner, which is a meal eaten at

 sunset to break the daylong fast Muslims observe during the holy month of

 Ramadan. Am. Pet. ¶ 45 (ECF 38).3 Plainclothes officers followed them into the

 lobby of their apartment building, asked to confirm Mr. Khalil’s identity, and


 2
   As explained below, Petitioner has filed a cross-motion for re-transfer to the
 S.D.N.Y. purely to preserve for any future appellate review the argument that
 venue over his petition was proper there. See infra Part II. He waives his reply on
 that cross-motion.
 3
  Petitioner has verified the facts in the Amended Petition. See Salama Decl. (ECF
 50-1).


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 announced that they were Department of Homeland Security (“DHS”) agents there

 to take him into custody. Id. ¶¶ 46–47. Two other agents were already waiting

 inside. Id. ¶ 47. After Mr. Khalil asked, one of the agents represented that they had

 a warrant on a mobile phone and they would show it to him. Id. ¶ 48. (Neither Mr.

 Khalil nor his lawyers have yet to see any warrant.) As Mr. Khalil explained that

 he was a permanent resident with a green card, the agents began to create a

 physical barrier between him and his wife, and then threatened his wife that she

 would be arrested if she did not comply with their orders. Id.

       Mr. Khalil called one of his lawyers, Amy Greer, who spoke with Special

 Agent Elvin Hernandez. Id. ¶ 49. Agent Hernandez represented that he and his

 colleagues had an administrative warrant and that Mr. Khalil’s student visa had

 been revoked by the U.S. State Department. Id. When Ms. Greer informed Agent

 Hernandez that Mr. Khalil was a permanent resident, Agent Hernandez responded

 that the State Department had revoked that, too. Id. ¶ 51. He told Ms. Greer that he

 would be bringing Mr. Khalil to 26 Federal Plaza, the location of the ICE New

 York Field Office. Id. After Ms. Greer attempted to ask further questions, Agent

 Hernandez hung up the phone. Id.

       After the DHS agents took Mr. Khalil outside, they told his wife that he

 would be brought to 26 Federal Plaza but otherwise refused to answer any




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 questions. Id. ¶ 53. They did not identify themselves, the grounds for her husband’s

 arrest, or who she could contact to inquire about his location or condition. Id.

       Believing that Mr. Khalil’s arrest, detention, and threatened deportation

 were unlawful, Mr. Khalil’s lawyers raced to draft a habeas petition on Mr.

 Khalil’s behalf. That night, Ms. Greer checked the ICE online detainee locator

 multiple times to confirm the location of her client. Id. ¶ 54. At 10:00 p.m., Mr.

 Khalil was not yet entered in the system. Id. Hours later, at 1:35 a.m. the next

 morning, the system informed her that Mr. Khalil was in custody in New York

 City and instructed her to call the ICE New York Field Office for information. Id.

 Several hours after that, the locator revealed the same information. Id. ¶¶ 54–55.

       While Mr. Khalil was being held at 26 Federal Plaza, as ICE agents took his

 biometrics, an agent approached Agent Hernandez and said, “the White House is

 requesting an update.” Id. ¶ 58. As Mr. Khalil waited, agents prepared a Notice to

 Appear (“NTA”), a document that contains details about the grounds for a

 noncitizen’s removal from the country. Id. ¶ 59. They presented the NTA to him

 for signature, but after they refused his request to speak with his lawyer, he

 declined to sign it. Id. The NTA indicated he had been assigned an immigration

 court date, several weeks out, in Louisiana. Id. ¶ 60.

       At some point overnight, agents from the New York Field Office transported

 Mr. Khalil in handcuffs and shackles to Elizabeth Detention Center (“EDC”) in



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 New Jersey. Id. ¶ 61. Upon arrival at EDC, Mr. Khalil requested yet again to speak

 with his lawyer and was again refused. Id. ¶ 62; Khalil Decl. ¶ 9 (ECF 73-1). He

 asked once more the next morning, and was again refused. Khalil Decl. ¶ 12.

       Meanwhile, Mr. Khalil’s attorneys continued to work on Mr. Khalil’s habeas

 petition. At 4:40 a.m. on March 9, after confirming that the locator showed that

 Mr. Khalil remained in New York City, Ms. Greer filed the petition in the U.S.

 District Court for the Southern District of New York. Am. Pet. ¶ 54; see Pet. (ECF

 2). The petition sought, among other things, to enjoin transfer outside the district.

 See Pet. at 10–11. Almost four hours later after filing the petition, Ms. Greer

 checked the ICE locator again, and it still showed Mr. Khalil as being in New York

 City. Am. Pet. ¶ 55. Some time after that, she checked once more, and found that

 the system had updated to show that Mr. Khalil was being held in Elizabeth, New

 Jersey, at the EDC, a detention center privately operated by the corporation

 CoreCivic. Id. Alarmed and scared, Ms. Greer and a colleague made two attempts

 to contact her client by phone, but no one at the facility answered. Id. And around

 11:20 a.m., Mr. Khalil’s wife arrived at the facility to look for him, but she was

 told he was not in their system, and she was turned away. Id.

       Mr. Khalil had spent the night in EDC and was there, according to the

 government, at the time that Ms. Greer filed his habeas petition. Second Suppl.

 Joyce Decl. ¶ 17 (ECF 72). Around noon, ICE officers—including one Mr. Khalil



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 believes he recognized from the night before at 26 Federal Plaza—arrived at the

 EDC and handcuffed and shackled him and placed him in a van, where he also

 found two plastic bags containing the clothing and items the ICE agents had taken

 from him the night before. Am. Pet. ¶ 63; Khalil Decl. ¶¶ 20–21. Mr. Khalil was

 told he was then going to JFK without further clarification. Am. Pet. ¶ 63; Khalil

 Decl. ¶ 20.

       That afternoon, ICE informed Mr. Khalil’s counsel that the government was

 in the process of transferring Mr. Khalil to its New Orleans Field Office, almost

 1500 miles away. Am. Pet. ¶ 56. Mr. Khalil’s counsel emailed attorneys in the U.S.

 Attorney’s Office for the Southern District of New York, who confirmed that Mr.

 Khalil was on the way to Louisiana. Id. She requested Mr. Khalil’s immediate

 return to New York, but was told that ICE would not consent to his return absent a

 court order. Id. And when Mr. Khalil’s counsel attempted to schedule a telephone

 call with Mr. Khalil—a process that, for detained immigrants in New York,

 typically occurs the same or next day—authorities in the Louisiana ICE detention

 facility offered a date ten days away. Id.

       In the early hours of the morning on March 10, almost 40 hours after his

 arrest, Mr. Khalil arrived at the Louisiana Detention Facility in Jena, Louisiana,

 where he remains today. Id. ¶¶ 67, 70, 99.




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                                      ARGUMENT

       As Judge Furman has already held, venue is proper in this District. That is

 the law of the case, and regardless, it is correct.

 I.    Venue is proper in the District of New Jersey.

       A.     This Court has venue under the law of the case.

       That the government has “renew[ed]” its motion to transfer gives the game

 away. ECF 89 at 1. Judge Furman rejected the government’s argument that

 dismissal or transfer to Louisiana was appropriate in a reasoned opinion that was

 fully litigated by the government. See Op. at 25–32 (ECF 78).4 In this Circuit,

 venue transfer decisions made by the transferor court are the law of the case.

 Hayman Cash Reg. Co. v. Sarokin, 669 F.2d 162, 166 (3d Cir. 1982); Bobian v.

 CSA Czech Airlines, 222 F. Supp. 2d 598, 602 (D.N.J. 2002). The “only”

 circumstances in which the transferee court—this Court—may make “a

 determination of venue and jurisdiction” is when that “determination has not

 previously been made by the transferor court.” Sarokin, 669 F.2d at 166; see

 Hoffenberg v. United States, No. 12-cv-4833-JBS, 2013 WL 135134, at *1 (D.N.J.

 Jan. 8, 2013) (Where “the transferor court . . . expressly ma[kes] a reasoned

 determination that venue is proper in this District” and the Court “has personal



 4
  Available at Khalil v. Joyce, No. 25 Civ. 1935 (JMF), 2025 WL 849803
 (S.D.N.Y. Mar. 19, 2025).


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 jurisdiction” over the defendant, “the law of the case doctrine prohibits

 reconsideration of venue transfer . . . .”). The matter is closed.5

       The government says that the “law of the case doctrine” does not apply here,

 or at least that it is “discretion[ary].” Renewed Transfer Mem. at 11 (ECF 90). But

 the government’s own case makes clear that even where the Court maintains the

 power to reconsider an earlier decision, it should be “loathe” to exercise that

 power, and it may do so only in cases of manifest injustice to the party seeking

 reconsideration. Pub. Int. Rsch. Grp. of N.J., Inc. v. Magnesium Elektron, Inc.

 (PIRG of N.J.), 123 F.3d 111, 117 (3d Cir. 1997). The government suggests that

 “the substantial jurisdictional concerns with the original petition and the lack of

 filing in the proper district at the outset” amount to such circumstances, Renewed

 Transfer Mem. at 11, but they are not even close. Nothing about Judge Furman’s

 decision suggests reevaluation based on “new evidence,” “supervening new law,”

 or “clear[] erro[r]” that would “create manifest injustice.” PIRG of N.J., 123 F.3d

 at 117. Judge Furman ruled five days ago. And in his opinion, he articulated why

 transfer to this Court served the interest of justice, instead of working the opposite.

 Op. at 26–27 (explaining that even the government agreed that “prompt resolution”




 5
   The Third Circuit has suggested that a party challenging a transfer could “seek
 reconsideration in the transferor court.” Sarokin, 669 F.2d at 168. The government
 did not seek reconsideration of Judge Furman’s order here.


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 is “imperative,” and concluding that dismissal and delay “would prejudice Mr.

 Khalil in several important ways”).

       There is also no argument that Judge Furman’s decision to transfer Mr.

 Khalil’s petition to this District was clear error. Judge Furman firmly grounded his

 decision in the clear language of one of the federal transfer statutes, 28 U.S.C.

 § 1406(a), which permits transfer of a case filed in the wrong district “to any

 district . . . in which [the case] could have been brought.” Op. at 28. As he

 explained, the transfer statute does not permit transfer to a district (like the

 Western District of Louisiana) where a case “may now be rebrought,” but only

 where it “could have been brought” in the first place. Id. at 29 (quoting Hoffman v.

 Blaski, 363 U.S. 335, 342 (1960)). As Judge Furman explained, the D.N.J. was

 “the one and only district in which [Mr. Khalil] could have filed” his petition at

 just past 4 o’clock in the morning on March 9, when the petition was filed in the

 S.D.N.Y. Id. at 30. And, he found, justice would be served by transfer here in lieu

 of dismissal, because the latter would have meant “litigating far from [Mr.

 Khalil’s] lawyers, from his eight-months-pregnant wife, and from the location

 where most (if not all) of the events relevant to his petition took place,” and his

 “lawyers filed the Petition in [the S.D.N.Y.] based on a good-faith and reasonable

 belief that he was then detained [t]here.” Id. at 26–27.




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       The government does not specifically take issue with that analysis so much

 as suggest that this Court must undertake it all anew and somehow arrive at a new

 result. The government appears to rely on PIRG of N.J. for the proposition that this

 Court can and should send the case to Louisiana because it must re-evaluate its

 own “jurisdiction[],” and because Judge Furman got that question wrong.6 But

 PIRG of N.J. was about a court’s non-negotiable Article III jurisdiction over a

 matter; there, a prior decision on standing had been “undermine[d]” by later-in-

 time factual findings. 123 F.3d at 117. That is a real question of jurisdiction.7

       Judge Furman, addressing the government’s “jurisdictional” argument, made

 clear that it “suffers from a . . . misunderstanding of” the Supreme Court’s decision

 in Rumsfeld v. Padilla, 542 U.S. 426 (2004). Op. at 30. “[H]abeas jurisdiction is

 ‘not jurisdictional in the sense of a limitation on subject-matter jurisdiction.’” Id.

 (quoting Padilla, 542 U.S. at 451 (Kennedy, J., concurring)); see Grigorian v.

 Morton, No. CIV.A 10-3441, 2010 WL 2902537, at *2 n.4 (E.D. Pa. July 23,



 6
  Actually, all the government can muster is “concern[]” with Judge Furman’s
 ruling. Renewed Transfer Mem. at 11. That is far from a clarion call for clear error.
 7
   The government also cites Arizona v. California, 460 U.S. 605 (1984), but the
 law-of-the-case issue there concerned the unique scenario of the Supreme Court’s
 original jurisdiction, and even without directly applying the doctrine, the Court
 invoked “the principles upon which” it is based to decide against reconsideration
 of the previously litigated jurisdictional question before it. Id. at 619. The Court
 also reiterated that the doctrine applied absent a showing of clear error or manifest
 injustice. Id. at 619 n.8.


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 2010) (“the term ‘jurisdiction,’ as used in [the habeas] context, does not refer to a

 limitation on the power of the Court to hear the case” (citing Padilla, 542 U.S. at

 451–52)). Instead, it is a venue rule. Padilla, 542 U.S. at 452 (“Because the

 immediate-custodian and territorial-jurisdiction rules are like personal-jurisdiction

 or venue rules, objections to the filing of petitions based on those grounds can be

 waived by the Government.”).8 As a result, “[n]o statute is required to ‘vest’ the

 District of New Jersey with otherwise-absent jurisdiction.” Op. at 30 (rejecting the

 government’s argument found in Transfer Reply Mem. at 14 (ECF 71)).9

       Even if the question of subject-matter jurisdiction were both actually at issue

 and a close call here, the law of the case doctrine would still apply. The Supreme

 Court has explained that, in cases transferred under the federal statutes, courts

 “should encourage, not discourage, quick settlement of questions of transfer.”

 Christianson v. Colt Indus. Operating Corp., 486 U.S. 800, 819 (1988) (quoting

 Hoffman, 363 U.S. at 349 (Frankfurter, J., dissenting)); accord Sarokin, 669 F.2d

 at 167–68. As important as jurisdiction is in any given case, courts should work to


 8
  See also Cruz v. Decker, No. 18 Civ. 9948, 2019 WL 4038555, at *2 (S.D.N.Y.
 Aug. 27, 2019) (“Padilla’s ‘immediate custodian rule is a venue rule.’” (quoting
 Mahmood v. Nielsen, 312 F. Supp. 3d 417, 423 (S.D.N.Y. 2018)), aff’d, 2019 WL
 6318627 (S.D.N.Y. Nov. 26, 2019))); Rivera-Perez v. Stover, No. 23-CV-1348,
 2024 WL 4819250, at *5 (D. Conn. Nov. 18, 2024) (same).
 9
   Judge Furman pointed out that, “even if the defect were one of subject-matter
 jurisdiction,” the Court “would arguably” have had a basis to transfer Mr. Khalil’s
 petition under 28 U.S.C. § 1631. Op. at 26. n.7.


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 avoid engaging “in a perpetual game of jurisdictional ping-pong . . . until one of

 the parties surrenders to futility.” Id. at 818. That would “undermine public

 confidence in our judiciary” and “squander private and public resources” in ways

 Congress’s transfer statutes never intended. Id. at 818–19. That rationale applies

 with even more force in a case like this, involving an unprecedented exercise of

 executive power that, for two weeks, a detained Petitioner has been challenging as

 blatantly unconstitutional. As a result, and because “the doctrine of the law of the

 case is . . . a heavy deterrent to vacillation on arguable issues,” “reversals” of a

 transferor court’s decisions “should necessarily be exceptional,” and “if the

 transferee court can find the transfer decision plausible, its jurisdictional inquiry is

 at an end.” Id. at 819 (cleaned up). Judge Furman’s transfer decision easily clears

 that low bar.

       B.        Venue is proper in the District of New Jersey because Mr. Khalil
                 could have filed his petition here at the time he filed it in the
                 Southern District of New York.

       Judge Furman’s analysis is all more than sound, and there is no reason for

 this Court to even revisit it, let alone overrule it as clearly wrong. It is consistent

 with the “default” rule in habeas cases—at least outside of the immigration

 context, Padilla, 542 U.S. at 435 n.8 (majority op.), and in this Circuit within it as

 well, Anariba v. v. Dir. Hudson Cnty. Corr. Ctr., 17 F.4th 434, 444 (3d Cir.

 2021)—that the proper respondent is the warden of the facility where the prisoner



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 is being held” at the time the petition was filed. Padilla, 542 U.S. at 435–36. It is

 also consistent with this Circuit’s law regarding the transfers of habeas petitioners.

 “When a prisoner is transferred while the litigation is pending, habeas jurisdiction

 as a general matter continues to be in the district where the prisoner was

 incarcerated at the time the habeas petition was filed.” Chapman v. Mairoanna,

 No. 12–4116, 2013 WL 1491550, at *1 n.1 (3d Cir. Apr. 12, 2013) (cleaned up)

 (quoting Blair–Bey v. Quick, 151 F.3d 1036, 1039 n. 1 (D.C. Cir. 1998)); Anariba,

 17 F.4th at 445–46; Barden v. Keohane, 921 F.2d 476, 477 n.1 (3d Cir. 1990). And

 where a habeas petitioner is “transferred multiple times” after his petition was

 filed, “[p]roper jurisdiction over the action thus remains in the District Petitioner

 was incarcerated at the time of filing.” Joseph v. Sniezek, No. CV-13-1889, 2013

 WL 5351078, at *3–4 (M.D. Pa. Sept. 23, 2013).

        This caselaw synthesizes both the longstanding federal transfer statutes and

 the rule of Ex Parte Endo, 323 U.S. 283 (1944), which no court has seriously

 questioned in more than eighty years. The federal transfer statutes, including (as in

 this case) 28 U.S.C. § 1406(a), permit courts, “in the interest of justice,” to

 “transfer” cases “laying venue in the wrong . . . district” to “any district . . . in

 which it could have been brought.” And, under Endo, “[t]he fact that a detainee has

 been transferred far away from a district that otherwise has jurisdiction to hear his

 or her claims does not necessarily deprive that district of habeas jurisdiction.” Op.



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 at 30 (citing Padilla, 542 U.S. at 441 (majority op.), itself discussing Endo).

 Indeed, even before Endo, the Third Circuit had “adhere[d] to the general rule . . .

 that the government’s post-filing transfer of a § 2241 petitioner out of the court's

 territorial jurisdiction does not strip the court of jurisdiction over the petition.”

 Anariba, 17 F.4th at 445–46 (discussing Ex parte Catanzaro, 138 F.2d 100 (3d Cir.

 1943)).

       All of that compels the same conclusion that Judge Furman already

 reached. Despite this, the government argues that because Mr. Khalil “has

 never filed a habeas petition in this Court, . . . habeas jurisdiction has never

 vested in this Court.” Renewed Transfer Mem. at 7; see id. (suggesting that

 Endo does not apply because Mr. Khalil’s petition was never “properly”

 filed in the District of New Jersey); Transfer Reply Mem. at 13–14 (same).

 But the government’s position makes no sense.

       First, as Judge Furman found, because the government did not even

 mention section 1406(a) in its brief supporting its first motion to transfer

 (ECF 31), the government has “forfeited any argument against application

 of” the transfer statute in this case. Op. at 27 n.9.

       Second, Judge Furman already dealt with the government’s objection,

 explaining that because habeas jurisdiction is not the same as subject-matter

 jurisdiction, the government’s “vesting” argument goes nowhere. Op. at 30.



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       Third, to the extent that the government might be arguing that the

 problem here is that Mr. Khalil named the wrong respondent in his initial

 petition, see Renewed Transfer Mem. at 8 (implying, in a somewhat

 inaccurate case parenthetical, that its argument might be that Mr. Khalil’s

 petition lacks a “properly named respondent”), that issue is easily and

 routinely cured.10 And notably, the habeas pleading statute only requires the




 10
    Petitioner maintains that Respondent Joyce is was and is a proper Respondent,
 see infra Part II; see Opp’n to Transfer Mem. at 12–16 (ECF 50), and that
 substitute of the EDC warden here is a pro forma matter. Courts frequently (and
 sua sponte) direct the Clerk of Court to substitute the name of the proper warden
 upon the transfer of habeas cases. See, e.g., Order, Durel B. v. Decker, No. 20-
 3430-KM (D.N.J. Apr. 1, 2020) (ECF 18) (after transfer from S.D.N.Y. to D.N.J.,
 reviewing a habeas petition for COVID-19 relief and directly adding the “proper
 respondent”); see also, e.g., Hinds v. Hufford, No. 17-CV-488, 2017 WL 6346413,
 at *3 n.1 (M.D. Pa. Dec. 12, 2017); Smith v. Gaetz, No. CIV 10-616, 2010 WL
 3926868, at *2 (S.D. Ill. Oct. 5, 2010); Kaufman v. Trammell, No. 08-CV-276,
 2012 WL 380351, at *6 n.1 (N.D. Okla. Feb. 6, 2012); Soto v. Pugh, No. CV 306-
 092, 2007 WL 113945, at *3 n.1 (S.D. Ga. Jan. 10, 2007); Steele v. Beasley, No.
 19-CV-23, 2019 WL 1270932, at *3 n.1 (E.D. Ark. Mar. 19, 2019), report and
 recommendation adopted, No. 19-CV-23, 2019 WL 1461909 (E.D. Ark. Apr. 2,
 2019), aff’d sub nom. Steele v. Doe, No. 19-1830, 2019 WL 5390950 (8th Cir.
 Aug. 6, 2019).
        However, should the Court believe a motion to amend the caption is
 required, Petitioner respectfully requests leave to promptly file such a motion. See,
 e.g., Cruz-Aguilera v. INS, 245 F.3d 1070, 1073 n.2 (9th Cir. 2001) (“Necessary
 amendments to perfect the form of the habeas petition can be made in the district
 court upon transfer.”); see also, e.g., Nottingham v. U.S. Dist. Ct. for Middle Dist.
 of Penn., No. 21-CV-396, 2021 WL 1313526, at *4 (M.D. Pa. Apr. 8, 2021) (“The
 Third Circuit Court of Appeals requires district courts to grant leave to amend
 before dismissing a civil rights complaint when curative amendment is
 conceivable.” (citing Fletcher-Harlee Corp. v. Pote Concrete Contractors, Inc.,

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 naming of the petitioner’s warden “if known.” 28 U.S.C. § 2242. Mr.

 Khalil’s lawyers did not and could not have known to name the EDC warden

 when they filed the initial petition. Am. Pet. ¶ 54.

       Fourth, the government’s reading of the transfer statute is circular, and

 it would thwart Congress’ explicit purpose in enacting the statute. The

 government argues that Judge Furman’s transfer of the case to this District is

 inoperative because “no court has yet had proper habeas jurisdiction over

 this matter.” Renewed Transfer Mem. at 8. But the whole point of the

 congressionally granted transfer authority is to move a case from a place a

 case was filed (but cannot be litigated) to a place where it “could have been

 brought” (but, in fact, was not). And the government’s argument renders the

 statute completely useless. Under its view, jurisdiction never vested in the

 original court (under the immediate custodian rule), so the case cannot be

 heard there. And, it continues, jurisdiction never vested in the transferee

 court (because it was not brought there originally), so the case cannot be

 heard there, either. If that were somehow correct, no court could ever

 transfer an action under section 1406(a), even “in the interest of justice,” and




 482 F.3d 247, 251 (3d Cir. 2007); Grayson v. Mayview State Hosp., 293 F.3d 103,
 108 (3d Cir. 2002))).


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 courts would simply dismiss all improperly filed petitions as a matter of

 course.

       As Judge Furman pointed out, that view is belied the “legion” of

 “cases in which district courts have relied on Section 1406(a) to transfer

 immigration habeas cases filed in the wrong district.” Op. at 27 (citing, as

 examples, multiple cases). As those cases make clear, detainees file habeas

 petitions in the wrong place all the time, and courts routinely, and very often

 at the government’s urging, send those petitions to the districts where the

 petitioners were detained at the time of filing.11 No habeas case that is

 transferred after a habeas petitioner “erred at the outset by filing” in the

 wrong district, Joseph, 2013 WL 5351078, at *4, had already “vested” in the

 transferee court prior to the transfer. And that is likely why, despite four

 opportunities, the government has been unable to cite a single case where a

 court agreed with the argument it is making here12—or, even more telling, a

 11
   See, e.g., Golding v. Sessions, No. 18-CV-3036, 2018 WL 6444400, at *1, *3
 (S.D.N.Y. Dec. 6, 2018) (granting government’s requested transfer of habeas
 petition to the D.N.J. upon government’s argument that the immediate custodian
 rule, under which a petitioner should “file that action in the district in which he is
 physically present at the time of filing,” required it—despite the fact that the
 petitioner had named the Attorney General instead of “the person with day-to-day
 control over Petitioner (at the time of filing),” namely “the warden of the Bergen
 County Jail”).
 12
   The government has cited Pittman v. Pullen, No. 22-cv-01651, 2023 WL
 6379371 (D. Conn. Sept. 29, 2023), which it claims supports the notion that
 “where a petitioner improperly filed a petition, but has since been moved to a

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 single case in which the government even made the argument it is making

 here.13

       Fifth, the government’s argument would profoundly undermine the Endo

 rule. According to the government, Endo means that the government cannot move

 a petitioner who has “properly filed” a petition in order to unilaterally choose a

 different venue—but Endo has nothing to say about the government moving a

 petitioner in a way that prevents any “proper” filing in the first place. That is a

 bafflingly dim view of Endo, which is bedrock habeas law. See Anariba, 17 F. 4th

 at 445–46. “The objective of habeas relief,” the Supreme Court held in Endo, “may

 be in no way impaired or defeated by the removal of the prisoner from the

 territorial jurisdiction of the District Court.” 323 U.S. at 307 (cleaned up and

 emphasis added). And the Third Circuit has been explicit, when addressing an

 Endo issue in a related context that speaks directly to this case, that the




 different location[,] courts typically dismiss without prejudice.” Transfer Reply
 Mem. at 14 (citing no other cases). But Pittman is irrelevant. In that case, a
 petitioner sought injunctive relief regarding conditions claims he brought against
 the warden of a facility, and was then transferred to another facility, mooting his
 claims. 2023 WL 6379371, at *2. Under those circumstances, dismissal was
 appropriate because, under the federal transfer statutes, the petition could not have
 been brought in the district of confinement (N.D. Ga.) at the time it was filed. Id.
 13
   See Transfer Mem. at 10 n.4 (ECF 31) (arguing that cases going against its
 position are irrelevant because, in them, the government did not make the
 argument it makes here).


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 consequences of undermining the rule would be intolerable. In applying Endo,

 courts cannot allow the government to:

       willingly transfer an ICE detainee seeking habeas relief from
       continued detention to a jurisdiction that is more amenable to the
       Government’s position, or . . . transfer an ICE detainee for the purpose
       of intentionally introducing complicated jurisdictional defects to delay
       the merits review of already lengthy § 2241 claims. Taken to an
       extreme, the Government could transfer a petitioner with such
       consistency as to evade a district court ever even obtaining
       jurisdiction over a petitioner’s § 2241 claims.

 Anariba, 17 F.4th at 447; see id. at 448 (casting doubt upon the legitimacy of

 “[t]he frequency and circumstances surrounding” the government’s frequent

 transfers of ICE detainees, including the government’s apparent practice of

 “often repeatedly mov[ing] ICE detainees to remote locations far from

 counsel or their community without informing counsel of the transfer or

 updating the ICE detainee locator” (quoting a declaration)).

       Last, but surely not least, the government’s argument is wholly

 inconsistent with the fundamental purpose of habeas. As the Supreme Court

 has instructed, habeas corpus “must not be subject to manipulation by those

 whose power it is designed to restrain.” Boumediene v. Bush, 553 U.S. 723,

 765–66 (2008). And while Padilla was premised in part on concerns that

 habeas petitioners might engage in forum-shopping, “it is equally true that

 the government should also be dissuaded from forum shopping” under

 Padilla, “particularly considering that ICE unilaterally directs where

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 immigrants are detained, there would be almost no check on the

 government’s ability to forum shop.” Gallego v. Decker, No. 19 Civ. 8263,

 2020 WL 5370448, at *4 (S.D.N.Y. Sept. 8, 2020) (cleaned up), vacated as

 moot (Sept. 22, 2020); see Doe v. Barr, No. 20-cv-02263, 2020 WL

 1984266, at *5 (N.D. Cal. Apr. 27, 2020) (“[I]t should not go without

 mention that by detaining immigration prisoners in remote jail facilities . . .

 it at least appears that Respondents may be attempting to take advantage of

 the immediate custodian rule to frustrate Petitioner’s effective access to

 habeas corpus litigation.”).

          The government’s argument here is radical. It maintains that the

 longstanding, protective rule of Endo, based in the equitable nature of habeas

 corpus, and a protective transfer statute explicitly aimed at achieving “justice,” do

 not protect Mr. Khalil because the government never told Mr. Khalil’s lawyers that

 he was being detained in New Jersey, after it had consistently told them that he

 was being detained in New York, until he was already on the way to being

 detained in Louisiana—even though his lawyers, who he was not permitted to

 contact despite multiple requests, filed a petition for his release in the middle of the

 night.




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       Under either law or equity, that does not hold up.14 The purpose of habeas,

 including its most rigorous rules, is not to err on the side of executive authority, but

 to ensure the legitimacy of the judicial check upon it. Cf. Boumediene, 553 U.S. at

 779. The government’s renewed motion to transfer this case is nothing but an

 invitation to the Court to abide “the Kafkaesque specter” of Mr. Khalil “wandering

 endlessly from one jurisdiction to another in search of a proper forum, only to find

 that it lies elsewhere.” Eisel v. Sec’y of the Army, 477 F.2d 1251, 1257–58 (D.C.

 Cir. 1973); see Op. at 33 (emphasizing the need to “avoid any unnecessary delay,”

 Mr. Khalil’s multiple pending motions, and waiving the ordinary seven-day

 waiting period after transfer under local rules).

       Enough is enough: Mr. Khalil’s petition should stay with this Court.



 14
    Notably, the Second Circuit has applied equitable estoppel in an immigration
 case where the withholding of critical information caused a noncitizen grave harm.
 See Corneil-Rodriguez v. INS, 532 F.2d 301, 306 (2d Cir. 1976) (the “failure to
 provide the warning mandated by [a regulation] was fully as misleading as the
 misinformation given to” an individual in a persuasive Seventh Circuit case, “and
 certainly as unjust and as seriously prejudicial to her interests” (citing Lee You Fee
 v. Dulles, 236 F.2d 885 (7th Cir. 1956), rev’d on other grounds, 355 U.S. 61
 (1957) (per curium))); see United States v. Asmar, 827 F.2d 907, 911–13 (3d Cir.
 1987) (discussing availability of equitable estoppel against the government where
 it engages in “affirmative misconduct”); see also Heckler v. Cmty. Health Servs. of
 Crawford Cnty., Inc., 467 U.S. 51, 60–61 (1984) (“[W]e are hesitant, when it is
 unnecessary to decide this case, to say that there are no cases in which the public
 interest in ensuring that the Government can enforce the law free from estoppel
 might be outweighed by the countervailing interest of citizens in some minimum
 standard of decency, honor, and reliability in their dealings with their
 Government.”).


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       C.     Even if the law of the case and ordinary habeas principles did not
              venue the petition in this Court, the government’s transfer of Mr.
              Khalil from New Jersey to Louisiana demands the application of
              an exception because the government frustrated the proper filing
              of his petition.

       The above more than justifies rejection of the government’s renewed

 motion, and there is no need for the Court to address anything more. But if the

 Court disagrees, it should still keep the case in this District, relying on the

 exceptions to the immediate custodian rule described in Padilla. Habeas is the

 most “adaptable” remedy in American law. Boumediene, 553 U.S. at 779. And as

 the Padilla exceptions suggest, it simply cannot be that the government may detain

 a person, keep their counsel and family from knowing where they are being held,

 look on as that counsel timely files a habeas petition challenging the unlawful

 detention in the only place the detainee was known to be for more than 12 hours

 after his arrest, move the detainee 1000 miles away, and end up in the venue the

 government intended to manufacture all along.

       Historically, the writ of habeas has been about principles, not rules. The

 Framers who codified habeas corpus in essentially the form in which it exists today

 modeled it on England’s Habeas Corpus Act of 1679. See id. at 742. That Act, in

 turn, was specifically meant to counter practices that de facto threatened access to

 the writ, in ways that reverberate today through this case: “Prisoners were moved

 from gaol to gaol so that it was impossible to serve the proper gaoler with the writ



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 and some prisoners were removed overseas so giving rise to practical difficulties in

 terms of communication (between the detained person and those acting on his

 behalf), service (on the relevant gaoler), and enforcement of the writ (by

 production of the detained person) if the writ was issued.” Br. for the

 Commonwealth Lawyers Ass’n as Amicus Curiae at *6, Boumediene v. Bush, Nos.

 06-1195 & 06-1196, 2007 WL 2414902 (U.S. Aug. 24, 2007) (quoting the Act).

 And it is clear that the writ was never intended to depend on technicalities that

 could easily be abused by the executive to restrict relief. See Stephen I. Vladeck,

 The New Habeas Revisionism, 124 Harv. L. Rev. 941, 948 (2011); see also

 Holiday v. Johnston, 313 U.S. 342, 350 (1941).

       Of course, rules still matter, and this Court must apply them. See supra Part

 I.A–B. But the Supreme Court in Padilla also accepted that, in rare but important

 cases, the default rule would not apply. In a widely recognized concurring opinion,

 Justice Kennedy, joined by Justice O’Connor, explained that the immediate

 custodian rule is “subject to exceptions.” 542 U.S. at 452 (Kennedy, J.,

 concurring). And he emphasized that the five-vote majority opinion—of which the

 two concurring Justices were a pivotal part—“acknowledged” the same thing. Id.

 (citing id. at 435–36, 437–42, 444–47 (majority op.)).15 The exceptions allow


 15
   Judge Furman was uncertain whether these exceptions were “the law of the
 land,” Op. at 3, but where the vote of a Supreme Court Justice (let alone two of
 them) is “necessary to the formation of a majority,” that Justice’s concurrence is at

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 courts to fashion flexible outcomes in unique, outlier cases that are tailored to the

 particular situation. They do not open the door to a free-for-all, permitting the

 filing of a petition in “any one of the federal district courts,” but only in “the one

 with the most immediate connection to the named custodian.” Id. at 453 (Kennedy,

 J., concurring).

       Justice Kennedy listed various examples of past exceptions the Supreme

 Court had made to the immediate custodian rule. See id. at 454 (citing, e.g., Endo,

 323 U.S. 283). And, of particular relevance here, he explained that, as a matter of

 fairness and in the interests of justice, he would acknowledge exceptions “if there

 is an indication that the Government’s purpose in removing a prisoner were to

 make it difficult for his lawyer to know where the habeas petition should be filed,

 or where the Government was not forthcoming with respect to the identity of the

 custodian and the place of detention.” Id. “In cases of that sort,” he continued:

       habeas jurisdiction would be in the district court from whose territory
       the petitioner had been removed. In this case, if the Government had
       removed Padilla from the Southern District of New York but refused
       to tell his lawyer where he had been taken, the District Court would
       have had jurisdiction over the petition. Or, if the Government did
       inform the lawyer where a prisoner was being taken but kept moving
       him so a filing could not catch up to the prisoner, again, in my view,
       habeas jurisdiction would lie in the district or districts from which he
       had been removed.

 Id.

 least “given particular weight.” Schmitz v Zilveti, 20 F.3d 1043, 1045 (9th Cir.
 1994).


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       In Padilla, the majority and concurrence took pains to ensure that future

 courts—courts just like this one—would exercise their habeas authority to address

 extraordinary circumstances, in extraordinary moments, and prevent the grave

 injustice they imagined, but did not see directly before them, from ever coming to

 pass.16 It is true, as Judge Furman observed, that while courts have left open the

 possibility that the Padilla exceptions remained available in a shocking case,17 that

 apparently no court to date has invoked them to “award relief” to a habeas




 16
   The Padilla majority—again, of which both Justice Kennedy and Justice
 O’Connor formed a crucial part—twice emphasized that Justice Kennedy’s
 proposed exception had not been met in the case before the Court. See 542 U.S. at
 435–36 (majority op.) (“No exceptions to this rule, either recognized or proposed,
 apply here.” (cleaned up)); id. at 441–42 (“There is no indication that there was
 any attempt to manipulate behind Padilla’s transfer—he was taken to the same
 facility where other al Qaeda members were already being held, and the
 Government did not attempt to hide from Padilla’s lawyer where it had taken
 him.”).
 17
   See, e.g., Vasquez v. Reno, 233 F.3d 688, 696 (1st Cir. 2000) (“[W]e can
 envision that there may be extraordinary circumstances in which the Attorney
 General appropriately might be named as the respondent to an alien habeas
 petition. . . . An[] example of an extraordinary circumstance might be a case in
 which the INS spirited an alien from one site to another in an attempt to manipulate
 jurisdiction.”); Griffin v. Ebbert, 751 F.3d 288, 290 (5th Cir. 2014) (warning
 against the potential that the government would “play[] forum games or ke[ep]
 moving” a detainee “so that his filing could not catch up”); Sow v. Whitaker, No.
 18 Civ. 11394, 2019 WL 2023752, at *6 (S.D.N.Y. May 8, 2019) (“This Court
 agrees that Padilla should not be interpreted so as to condone or encourage
 misbehavior or deceptive conduct by the Government in transferring immigrant
 detainees.”).


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 petitioner. Op. at 18. But of course, some court, some day, would have to become

 the first, if the circumstances demanded it.

       In asking Judge Furman to keep his case, Petitioner made a similar

 argument, and despite acknowledging that it was “compelling,” the court rejected

 it. Op. at 17.18 But critically, Judge Furman was careful to spell out that his

 conclusion only applied to Mr. Khalil’s “transfer from [the S.D.N.Y.] to the

 District of New Jersey,” as that was “the only transfer relevant to the jurisdictional

 analysis” before him. Op. at 3; see id. at 18. Judge Furman concluded that the

 evidence “f[e]ll short” when it came to the first transfer. Id. at 18. To get there, he

 called on his “own experience that noncitizens arrested and detained by

 immigration authorities in New York City are routinely processed at 26 Federal

 Plaza and then transferred to New Jersey for detention” to call Mr. Khalil’s transfer

 from New York to New Jersey “far from anomalous.” Id. at 19. But even as he did,

 he acknowledged that Mr. Khalil’s second transfer, from New Jersey to Louisiana,

 was something else entirely—particularly given the White House’s apparent



 18
   Judge Furman remarked that Padilla “could be described as even more
 extraordinary than this one.” Op. at 2. In at least one way—the military detention
 of a U.S. citizen on U.S. soil—that is true. But in the way that is critical to the
 application of the exceptions, it is not. The Padilla petition was incorrectly filed in
 the S.D.N.Y. two days after the petitioner was transferred to South Carolina. 542
 U.S. at 431–32. But here, even according to the government’s account, Mr.
 Khalil’s petition was incorrectly filed in the S.D.N.Y. a mere 80 minutes after he
 arrived in New Jersey. See Second Suppl. Joyce Decl. ¶ 16; Am. Pet. ¶ 54.


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 “direct[] involve[ment] in the plan to move him there, . . . and the fact that, in the

 space of less than twenty-four hours, the Government hauled Khalil through at least

 six different districts (one likely twice).” Op. at 24 n.6.

       The government’s given justifications for transferring Mr. Khalil, after a

 brief stay in New Jersey, to Louisiana—again, without ever telling his lawyers that

 he was in this District, or permitting him an opportunity to call them—are not

 credible.19

       • Sometime between the night of March 8 and early hours of March 9, the
         government decided, apparently in coordination with the White House,
         that it intended to send Mr. Khalil to Louisiana. Am. Pet. ¶¶ 58–60. By
         setting that plan in place, but then moving Mr. Khalil to a location that
         was never disclosed to his lawyers or family until he was sent down
         South, the government ensured that it would be able to argue—as it did
         from the start of this case—that “jurisdiction never vested” in this
         District. Tr. at 9:8–9 (ECF 44).

       • The government did not, in fact, ever inquire into whether ICE facilities
         had a single bed for Mr. Khalil in any of its many detention centers in the
         tri-state area. It says that “[t]he decision for the petitioner to be ultimately
         detained in Louisiana was made pursuant to neutral operational
         considerations,” Transfer Reply Mem. at 5–6, including “an awareness of
         general paucity of bedspace” in detention facilities around the tri-state
         area “compared to the known availability of bedspace” in Louisiana,
         Second Suppl. Joyce Decl. ¶ 11. But had the government actually

 19
   As Judge Furman pointed out, to whatever extent the government is generally
 relying on any presumption of regularity (and it does not raise the point in its brief
 supporting its renewed motion), all that presumption does—“to the extent it is not
 rebutted”—is “require[] a court to treat the Government’s record as accurate; it
 does not compel a determination that the record establishes what it is offered to
 prove.’” Op. at 20–21 n.5 (quoting Latif v. Obama, 677 F.3d 1175, 1180-81 (D.C.
 Cir. 2011)).


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          inquired, rather than relying on a general “awareness,” it would have
          learned that Orange County Jail in Goshen, New York, was accepting
          new detainees during the same time period that Respondent Joyce
          contends it could not accommodate Mr. Khalil. Kim Decl. ¶¶ 9–10 (ECF
          73-2).20

       • The government says that Mr. Khalil could not remain at EDC for long-
         term detention because the facility was “experienc[ing] a bedbug issue
         that prevented them from accepting detainees as full transfers”—full stop.
         Second Suppl. Joyce Decl. ¶ 11. But the facility processed at least four
         individuals for detention at Elizabeth between March 6 and March 13,
         2025, Major Decl. ¶¶ 6 (ECF 73-3), and Mr. Khalil himself saw at least
         three men being processed for detention, to be kept at Elizabeth, during
         his time in that facility, Khalil Decl. ¶¶ 13–14.

       • Upon arrival at EDC, Mr. Khalil requested to speak with his lawyer, and
         he was refused. Am. Pet. ¶ 62; Khalil Decl. ¶ 9. He asked once more the
         next morning, and he was again refused. Khalil Decl. ¶ 12.

       • The government appears to have violated its own policy to avoid transfers
         of detainees where there is immediate family or an attorney of record in
         the area.21

       The truth is that the Padilla exceptions speak directly to this case. There is

 far more than “an indication” that “the Government was not forthcoming with

 respect to the identity of the custodian and the place of detention,” Padilla, 542



 20
   Importantly, in part because Judge Furman narrowed the question before him to
 the propriety of Mr. Khalil’s transfer from New York to New Jersey, and not his
 second transfer from New Jersey to Louisiana, Judge Furman’s opinion did address
 the evidence submitted by Petitioner that is cited in this and the next paragraph.
 That evidence was submitted in connection with Petitioner’s reply brief in support
 of his motion for a temporary restraining order. ECF 73.
 21
   See John Morton, ICE Director, Policy 11022.1: Detainee Transfers (Jan. 4,
 2012), https://www.ice.gov/doclib/detention-reform/pdf/hd-detainee-transfers.pdf.


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 U.S. at 454—it simply was not. This alone is sufficient for this Court to invoke that

 exception. And, separately, there is far more than “an indication” that the

 government sent Mr. Khalil to Louisiana before ever telling his lawyers that he

 even set foot in this District “to make it difficult . . . to know where the habeas

 petition should be filed.” Id. There is no way to read Padilla and conclude that not

 only Justices Kennedy and O’Connor, but anyone in the majority, would have

 approved of the government’s attempt here to “manipulate” and “hide” critical

 facts from Mr. Khalil’s lawyers, id. at 441 (majority op.), then—over weeks of

 litigation that has delayed the prompt resolution of Mr. Khalil’s urgent claims (and

 motions for return to the area and release)—argue that, as a result, the lawyers had

 missed their chance at a “proper” habeas filing. See Anariba, 17 F.4th at 448

 (“When continuous transfer permeates the reality of ICE detention, it suggests that

 the Government has the machinery already in place to permit extensive forum

 shopping.”).

       This Court should therefore hold that it has venue over Mr. Khalil’s

 detention claims based on the exceptions to Padilla’s default rule. If those

 exceptions do not apply to this case, it becomes difficult to imagine what kinds of

 scenarios the majority and concurrence were contemplating at all.22


 22
   All of the above, and the existing factual record, make it crystal clear that Mr.
 Khalil’s petition should remain before this Court. But if the Court is still not
 persuaded to deny the government’s motion, it should allow Petitioner to conduct

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 II.   Purely for the purpose of preserving the argument for future appellate
       review, Petitioner maintains that venue was proper in the Southern
       District of New York.

       Petitioner has already argued the merits of his position that the Southern

 District of New York was a proper venue for his petition. See Opp’n to Transfer

 Mem. at 7–17 (arguing that the Padilla exceptions, the facts regarding Mr. Khalil’s

 “immediate custodian,” and the inclusion of both core and non-core habeas claims

 in his petition yielded venue in the S.D.N.Y.).23 He lost that argument, accepts that

 he did, and has no desire to waste the Court’s time re-arguing a closed issue. See

 supra Part I.A (explaining why Judge Furman’s transfer order is the law of the

 case). But in order to preserve any potential future appellate review of that

 question, should it become necessary, Petitioner has also filed a cross-motion for



 limited and expedited jurisdictional discovery before deciding that dismissal or
 transfer to Louisiana is appropriate. At the very least, the circumstances of this
 case raise serious questions about the government’s conduct in handling Mr.
 Khalil’s detention. And given the stakes, those questions would demand a fulsome
 examination before an irreversible resolution on the government’s motion sends
 Mr. Khalil out of the District—possibly forever. Op. at 24 n.6 (explaining why “the
 case for jurisdictional discovery would be stronger” in the context of the New
 Jersey-to-Louisiana transfer than in the context of the New-York-to-New-Jersey
 one). Because the interest in swift proceedings is Mr. Khalil’s, and not the
 government’s, the government will not be prejudiced by a short delay for
 discovery, and the interests of justice will be served. See, e.g., Better Packages,
 Inc. v. Zheng, No. CIV.A 05-4477-SRC, 2006 WL 1373055, at *4 (D.N.J. May 17,
 2006) (applying a “reasonableness standard” to a request for expedited discovery,
 and citing cases); see also Opp’n to Transfer Mem. at 17–19.
 23
    Petitioner incorporates those arguments, made in opposition to the government’s
 first motion to transfer in this litigation, into this brief.


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 re-transfer to the S.D.N.Y. See SongByrd, Inc. v. Est. of Grossman, 206 F.3d 172,

 177 (2d Cir. 2000) (“Most Circuits,” including the Third, “have held that in order

 to preserve the opportunity for review of a transfer order in the transferee Circuit, a

 party must move for retransfer in the transferee district court.”); see Nascone v.

 Spudnuts, Inc., 735 F.2d 763, 765–66 (3d Cir. 1984).24

                                     CONCLUSION

          Respectfully, the Court should deny the government’s renewed motion to

 dismiss or transfer venue and proceed to deciding the important and urgent issues

 raised by Mr. Khalil’s petition and pending motions before the Court.




 Dated: March 24, 2025                        /s/Baher Azmy

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      Petitioner waives reply on his cross-motion.


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                          CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing filing was

 served on counsel of record via this Court’s CM/ECF system on March 24, 2025.



                                               /s/ Baher Azmy
                                               Baher Azmy
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